  Case: 1:10-cv-01168 Document #: 468 Filed: 01/13/14 Page 1 of 2 PageID #:8156



                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

NATHSON E. FIELDS,                               )
         Plaintiff,                              )
                                                 )      No. 10 CV 1168
      v.                                         )
                                                 )      Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                          )
          Defendants.                            )

PLAINTIFF’S MOTION FOR LEAVE TO FILE CORRECTED LOCAL RULE 56.1(b)(3)
        RESPONSE TO CITY DEFENDANTS’ STATEMENT OF FACTS

      Plaintiff Nathson Fields, through his attorneys, respectfully moves this Honorable

Court for entry of an Order granting Plaintiff leave to file a corrected Local Rule

56.1(b)(3) Response to City Defendants’ Statement of Facts in support of their Motion

for Summary Judgment. In support thereof the following is offered:

    1. On January 10, 2014, Plaintiff filed his Local Rule 56.1(b)(3) Response to City

Defendants’ Statement of Facts.

    2. Plaintiff’s counsel have discovered the following errors in that filing:

           a. On page 10, in response to the SOF #22 sentence that reads, “Plaintiff
              denies as to Richardson, who admitted that he was involved as a ‘gang
              specialist,’” Plaintiff cited “Def. Ex. 6, pp. 23-25.” This response should
              have cited (Def. Ex. 6, pp. 23, 25) and also (PSF ¶¶5, 34);

           b. On page 11, in response to SOF #25, Plaintiff responded, “Plaintiff
              admits.” This response should have clarified, “Plaintiff admits. Stating
              further, Defendants’ Exhibit 22 is also Plaintiff’s Exhibit 28, not Plaintiff’s
              Exhibit 106.”;

           c. On page 12, in response to SOF #29, Plaintiff cited (PSF ¶41). That citation
              should be (PSF ¶237);

           d. On page 12, in response to SOF #30, Plaintiff included a citation to (Def.
   Case: 1:10-cv-01168 Document #: 468 Filed: 01/13/14 Page 2 of 2 PageID #:8157



                 Ex. 24, pp. 452-53, 457-463). That citation is incorrect, and should not
                 have been included in the response;

              e. On page 19, in response to SOF #45, Plaintiff cited (PSF ¶ 105). This
                 response should have cited (PSF ¶40);

              f. On page 37, in response to SOF #105, Plaintiff cited (PSF ¶31). This
                 response should have cited (PSF ¶119; PASF ¶236); and

              g. On page 51, in response to SOF #151, Plaintiff indicated that the names
                 mentioned in SOF #151 “appear in a version of a document that is also in
                 the ‘street file.’” (PSF ¶232). This response should just read “admit.”


        3.      A corrected response to the statement of facts is attached hereto. No other

        changes have been made to the Response. Counsel apologizes to the Court and

        opposing counsel for any inconvenience caused by the error.

        WHEREFORE, based on the foregoing, Plaintiff Nathson Fields respectfully

 moves this Honorable Court to allow the filing of his corrected Local Rule 56.1(b)(3)

 Response to City Defendants’ Statement of Facts.


                                                  Respectfully Submitted,
                                                  /s/H. Candace Gorman
                                                  One of the Attorneys for Fields

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